           IN THE SUPREME COURT OF THE STATE OF DELAWARE

JAMES PALMER,                          §
                                       §      No. 361, 2023
      Defendant Below,                 §
      Appellant,                       §      Court Below: Superior Court
                                       §      of the State of Delaware
      v.                               §
                                       §      Cr. ID. No. 2102002201(K)
STATE OF DELAWARE,                     §
                                       §
      Appellee.                        §

                          Submitted: July 24, 2024
                          Decided:   August 27, 2024

Before SEITZ, Chief Justice, VALIHURA, and LEGROW, Justices.

                                      ORDER

      On this 27th day of August, 2024, after considering the parties’ briefs and the

record below, it appears to the Court that:

      (1) In September 2023, James Palmer was sentenced to 120 years at Level V

incarceration, suspended after 35 years for decreasing levels of probation, after a

Kent County jury found him guilty of Murder Second Degree, Assault First Degree,

and two counts of Possession of a Deadly Weapon During Commission of a Felony.

      (2) These charges arose out of a February 2022 altercation between Palmer

and two others, Sergio Wilkerson and Laketa Trader, that resulted in Wilkerson

being stabbed to death and Trader sustaining stab wounds to the abdomen, from

which she ultimately recovered. At trial, the State presented a theory that Palmer
stabbed Wilkerson and Trader after getting into an argument at a party, whereas

Palmer’s theory was that he acted in self-defense or in defense of others and while

he was under extreme emotional distress. Palmer did not contest that he in fact

stabbed Wilkerson and Trader.

       (3)    Palmer now argues that the lead detective’s testimony constituted

improper vouching. Because he did not raise this claim below, we review for plain

error. “Under the plain error standard of review, the error complained of must be so

clearly prejudicial to substantial rights as to jeopardize the fairness and integrity of

the trial process.”1 Under plain error review, the defendant “bears the burden of

persuasion with respect to prejudice.”2 Our review “is limited to material defects

which are apparent on the face of the record; which are basic, serious and

fundamental in their character, and which clearly deprive an accused of a substantial

right, or which clearly show manifest injustice.”3

       (4) When asked to explain the process by which he identified Palmer as a

suspect, Det. Grassi explained that,

       James Palmer was identified by people who had been at the gathering
       at both residences as being involved. Not only did they identify him as
       the person that did it, but they identified him a someone that they knew
       for a long time, so it made the identification solid. So consulting with
       the Attorney General’s office, they approved charging Mr. Palmer for


1
  Wainwright v. State, 504 A.2d 1096, 1100 (Del. 1986).
2
  Williams v. State, 98 A.3d 917, 922 (Del. 2014) (internal quotation and citation omitted).
3
  Wainwright, 504 A.2d at 1100.
                                                2
         the incident, Murder First Degree and Possession of a Weapon During
         the Commission of a Felony.4
         (5)   Palmer contends that this statement constituted improper vouching

because the only eyewitness to the stabbing, Jericho Sykes, was unfamiliar with

Palmer and could not have identified him. Palmer also argues that Det. Grassi’s

testimony “identified Palmer as the one who ‘did it,’” thereby prejudicing the jury.

For two reasons, the trial court’s failure to exclude this evidence sua sponte did not

constitute plain error.

         (6) First, Det. Grassi later clarified that although Palmer was “unknown” to

Sykes at the time Sykes was interviewed, multiple witnesses from earlier in the night

knew Palmer and placed him at the scene, and Det. Grassi was able to piece together

Palmer’s involvement in the stabbing using multiple interviews.5 Accordingly, the

jury understood how Det. Grassi used the witness interviews to identify Palmer as a

suspect.

         (7) Second, Palmer’s contention that the statement was improper because it

suggested that Palmer was the one who “did it,” does not articulate the prejudice

required under the plain error standard. Because even Palmer conceded at trial that

he was involved in the stabbing, the issue at trial was not whether Palmer “did it,”




4
    App. to Opening Br. at A128.
5
    Id. at A130.
                                           3
but why. Because Det. Grassi’s testimony did not speak to this issue, we find no

plain error in the admission of the evidence.

      NOW, THEREFORE, IT IS ORDERED that the judgment of the Superior

Court is affirmed.

                                                BY THE COURT:

                                                /s/ Abigail M. LeGrow
                                                Justice




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